    Case:18-50834-MJK Doc#:19 Filed:04/30/19 Entered:04/30/19 12:45:06                                 Page:1 of 1
                        UNITED STATES BANKRUPTCY COURT
                                         Southern District of Georgia

In re:                                                                          Case No.: 18−50834−MJK
Paul Darshan Sharma
       Debtor                                                                   Judge: Michele J. Kim
                                                                                Chapter: 7

                                             NOTICE OF DEFICIENCY
Paul Darshan Sharma, 1007 Peterson Ave. N Douglas, GA 31533

The pleading or document, Financial Management Course Certificate , which you recently filed in the above
captioned case is deficient for the reason(s) indicated:

(    )     Fee not paid. Filing fee of $ due. Check must be payable to Clerk, U.S. Bankruptcy Court. Debtor checks
           are not accepted. Attorney filers shall pay electronically through Pay.gov.
(    )     Document unsigned or does not contain original or electronic signature.

(    )     Amendments must be verified by debtor(s).

(    )     The pdf image attached is incorrect. Please re−docket the pleading and attach the correct pdf image.

(    )     Service of process on an insured depository institution shall be made by certified mail addressed to an
           officer of the institution unless the institution has appeared by its attorney, in which case the attorney
           shall be served by first−class mail.
(    )     Amended Certificate of Service must be submitted.

(    )     Documents must comply with the Court's negative notice procedure. Notice of these procedures and
           copies of these forms are available on the Court's website at www.gasb.uscourts.gov.
(    )     Certificate of Service omitted or unsigned.

(    )     Your pleading or document was filed on an outdated form. Please re−file using the appropriate form.
           Current bankruptcy forms may be located on the U S Courts website,
           http://www.uscourts.gov/forms/bankruptcy−forms.
(    )     The required Certification About a Financial Management Course form (Form B−423) was not submitted
           with Certificate. Please visit our website https://www.uscourts.gov/forms/bankruptcy−forms for access to
           necessary form(s).
(    )     The Chapter 13 Plan does not include a certificate of service, or the certificate of service is deficient.
           Failure to file a certificate of service by the date indicated below will result in the setting of a hearing for
           the debtor to show cause why the plan should not be stricken from the record and the case dismissed. The
           show cause hearing will be at the same date and time as the scheduled hearing on confirmation.
(    )     The pleading or document will be held in abeyance. If the deficiency indicated above is not cured, on or
           before May 7, 2019 , the matter may be stricken, dismissed or denied.
                                                                             Lucinda Rauback, CLERK
                                                                             United States Bankruptcy Court
                                                                             801 Gloucester St, Rm 314
                                                                             Brunswick, GA 31520

Dated April 30, 2019
B−57[Rev. 09/18] LLH
